Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 1 of 27




                       EXHIBIT 1
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 2 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 3 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 4 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 5 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 6 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 7 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 8 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 9 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 10 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 11 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 12 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 13 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 14 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 15 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 16 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 17 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 18 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 19 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 20 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 21 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 22 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 23 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 24 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 25 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 26 of 27
Case 1:04-cv-10981-PBS Document 1675-2 Filed 02/23/09 Page 27 of 27
